       Case 2:24-cv-03183-GRB-ARL Document 5 Filed 04/29/24 Page 1 of 1 PageID #: 21

 AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District of New York

                                                                   )
                                                                   )
DAMASTE PRODUCTIONS, INC.                                          )
                                                                   )
                              Plaintiff(s)
                                  v.
                                                                   ~       Civil Action No. 2:24-cv-03183-GRB-ARL
                                                                   )
                                                                   )
                                                                   )
TGIM FILMS, INC and ERIC
                                                                   )
GITTER
                                                                   )
                                                                   )
                            Defendant(s)

                                                  SUMMONS IN A CIVIL ACTION

To: TGIM FILMS, INC., with an address at 2135 Groveland Drive, Los Angeles, California 90046 and Eric Gitter, with an
address at 1226 11 Ll, Street, Unit 1, Santa Monica, Ca 90401




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                         Michael Jude Jannuzzi, Esq.
                                         775 Park Avenue
                                         Suite 205
                                         Huntington, NY 11743

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             BRENNA B. MAHONEY
                                                                             CLERK OF COURT


Date: 4/29/2024
                                                                                      Signature ofilerkorIJe
